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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 04-61159-CIV-LENARD/SIMONTON v

MARTIN BRUSTEIN, et al.,

 

 

Plaintiffs,
VS.
IRA B. LAMPART; HARLAN PRESS; Fl 44 F204
RICHARD FINKBEINER; and
CONCORD CAMERA CORP., cLERs. 9-3. BIST, CT,
Defendants.

 

CASE NO. 04-61351-CIV-LENARD/SIMONTON
STEPHEN J. MAZUR, et al.,

Plaintiffs,
VS.

IRA B. LAMPART; HARLAN PRESS;
RICHARD FINKBEINER; and
CONCORD CAMERA CORP.,

Defendants.

 

ORDER OF CONSOLIDATION
THIS CAUSE is before the Court sua sponte. On November16, 2004, Plaintiffs

Mazur, et al., filed their Complaint (D.E. 1) in Case No. 04-22892-CIV. On September 1,
2004, Plaintiffs Martin Brustein, et al., filed their Complaint (D.E. 1) in Case No. 04-61159-

CIV. Having thoroughly reviewed the Complaints and the record, the Court finds as follows:

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Pursuant to Federal Rule of Civil Procedure 42(a), the Court finds that Case No. 04-
22892-CIV involves common questions of law and fact — including the same Defendants
and similar claims arising from the same set of events — as Case No. 04-61159-CIV. In the
interest of judicial economy, these cases shall be consolidated for both pretrial procedures
and for trial. Accordingly, it is:

ORDERED AND ADJUDGED that:

1. Case No. 04-61159-CIV-LENARD/SIMONTON and Case No. 04-22892-

CIV-LENARD/SIMONTON shall be CONSOLIDATED.
2. The higher-numbered case, Case No. 04-22892-CIV-
LENARD/SIMONTON, shall be ADMINISTRATIVELY CLOSED.

3. All pleadings in the consolidated case shall be filed under the lower case

number, Case No. 04-61 159-CIV-LENARD/SIMONTON.

DONE AND ORDERED in Chambers in Miami, Florida, this (4— day of

 

December, 2004.
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A. LENARD
Un TED STATES OLerRICT 9 JUDGE
ce: US. Magistrate Judge Andrea M. Simonton

All Counsel of Record

Case No. 04-61 159-CIV-LENARD/SIMONTON
Case No. 04-22892-CIV-LENARD/SIMONTON
